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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

ANNETTE REYES-KENDRICK,                        :
                                               :
            Plaintiff,                         :
                                               :      Civil Action No.
v.                                             :
                                               :
HEALTH & STYLE INSTITUTE,                      :
                                               :   JURY TRIAL DEMANDED
                                               :
            Defendant.                         :

                                 COMPLAINT

      COMES NOW, Annette-Reyes Kendrick, Plaintiff in the above styled

matter, and file this Complaint, and as grounds for said Complaint respectfully

show this honorable Court as follows:

                               INTRODUCTION

                                          1.

     This action is brought pursuant to Title IX of the Education Amendments of

1972, 20 U.S.C. §§1681-1688 (“Title IX”) and arises from the gross negligence and

reckless indifference exhibited by Defendant Health & Style Institute (“HSI”) in

expelling a student who complained of a concern of inappropriate physical

interaction from HSI’s School Director.
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                          JURISDICTION AND VENUE

                                         2.

      Jurisdiction of this Court is pursuant to 28 United States Code § 1331; 28

United States Code § 1343.

                                         3.

      Venue in this action is proper under Title 28 United States Code §1392, since

the Defendant resides in this district and division, and the claims arose in this

district and division.

                                  THE PARTIES

                                         4.

      At all times relevant to the Complaint the Plaintiff was a citizen of the

United States and a resident of this district and division.

                                         5.

      Defendant HSI is a private cosmetology school operating an education

program or activity receiving federal financial assistance. It may be served with a

copy of the Summons and Complaint by personally serving Josh Taves, Chief

Executive Officer, 605 Ernest W. Barrett Parkway, Kennesaw, Georgia, 30144.




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                             JURY TRIAL DEMAND

                                        6.

      Plaintiff demands a trial by jury on each of the causes of action pleaded

herein.

                           FACTUAL BACKGROUND

                                        7.

      Plaintiff was a cosmetology student at HSI beginning in September 2015,

applying for a federally funded loan to attend classes, and paying some funds out

of pocket to cover her tuition costs.

                                        8.

      While she was a student at HSI, Plaintiff interacted on a regular basis with

the school’s Director, Richard “Chip” Hinton.

                                        9.

      During her attendance, Plaintiff observed Mr. Hinton interacting with

numerous female students in a manner that she believed to be inappropriate,

wherein Mr. Hinton hugged female students excessively, or seemed to engage in

physical contact with students where such contact was unwarranted and

unreciprocated. Mr. Hinton also hugged Ms. Kendrick in a manner which made

her feel uncomfortable and which she felt was sexually suggestive.
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                                       10.

      Throughout Plaintiff’s enrollment with HSI, Plaintiff maintained an overall

grade point average of 99.13% and maintained a 101.07% attendance rate due to

her working extra hours beyond those that were required.

                                       11.

      On January 23, 2016, Plaintiff and Mr. Hinton were involved in a series of

text messages due to Plaintiff’s belief that HSI should be closed due to weather.

This interaction was elevated to the attention of HSI’s CEO, Josh Taves.

                                       12.

      Mr. Hinton demanded a face-to-face to discuss this matter, and Plaintiff

demurred stating that she did not want to meet with Mr. Hinton alone and asked

that Josh Taves be in the meeting.

                                       13.

      Though Plaintiff did not initially tell Mr. Taves why she did not want to

meet alone with Mr. Hinton, she ultimately told Mr. Taves that she believed that

Mr. Hinton’s behavior was inappropriate and sexually harassing behavior and as
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such did not want to meet alone with Mr. Hinton, but would agree to meet with

Mr. Hinton if Mr. Taves was present. Plaintiff provided Mr. Taves with all of this

information on January 23, 2016 via e-mail exchanges.

                                       14.

      Once the Plaintiff indicated that she was uncomfortable with Mr. Hinton’s

behavior due to the fact that it was sexual in nature, Mr. Taves became

argumentative with Plaintiff and told her she was “trying to make this into

something it is not” and that she was “just making things worse for (her)self.”

                                       15.

      On January 27, 2016, Mr. Taves scheduled a meeting with Plaintiff. Prior to

Plaintiff providing him any information, Mr. Taves asked if Plaintiff was going to

withdraw from school.

                                       16.

      When Plaintiff indicated that she was not going to withdraw from school,

Mr. Taves told Plaintiff she needed to show more respect and then began to discuss

the allegations Plaintiff had made related to Mr. Hinton.




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                                        17.

      During the January 27, 2016 meeting, Mr. Taves further asked if Plaintiff

was an “advocate” on behalf of other students and told her that she had made a

“serious accusation.”

                                        18.

      At the conclusion of the January 27, 2016, meeting, Mr. Taves expelled

Plaintiff from HSI. Mr. Taves refused to provide Plaintiff with a reason for her

expulsion.

                                        19.

      Upon information and belief, Plaintiff’s expulsion was due to her

complaints that she believed that HSI’s Director was engaging in sexually

inappropriate contact with HSI students.

                                        20.

      Following Plaintiff’s expulsion, HSI provided other cosmetology schools

with transcripts stating that Plaintiff was expelled, preventing her from being

able to attend any other cosmetology programs.




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                                         21.

      Upon Plaintiff’s unwarranted expulsion, HSI also demanded immediate

payment of $10,835.90 which it claimed was due because Plaintiff did not complete

her educational program.

                                         22.

      Despite the fact that Plaintiff completed 492 of the 1500 hours needed to

obtain her certification, Defendant’s actions have resulted in Plaintiff being unable

to receive any credit for the work she completed towards her certificate.

                                         23.

      Defendant’s actions after Plaintiff’s expulsion further demonstrate

retaliation against Plaintiff due to her complaints of sexually inappropriate

physical contact by HSI’s director.

                                      COUNT I

 RETALIATION UNDER TITLE IX OF THE EDUCATION AMENDMENTS
                          OF 1972

                                         24.

      The foregoing paragraphs are incorporated herein by this reference.

                                         25.

      Title IX prohibits an educational institution from retaliating against an

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individual or     individual(s)   because       they   have   complained about sex

discrimination under Title IX. See Jackson v. Birmingham Bd. of Educ., 544 U.S.

167, 173, 125 S. Ct. 1497, 1504, 161 L. Ed. 2d 361 (2005).

                                          26.

      HSI retaliated against Plaintiff for engaging in protected activities, namely,

for raising awareness of inappropriate sexual conduct and sexual harassment

against female HSI students.

                                          27.

      HSI intimidated, threatened, terminated, and prevented educational

opportunities for Plaintiff on account of her having exercised her rights under Title

IX.

                                          28.

      Plaintiff is entitled to recover from HSI all damages proximately resulting

from their acts of retaliation, actual and compensatory damages.

                                     COUNT II

                               PUNITIVE DAMAGES

                                          29.

      HSI’s actions showed willful misconduct, malice, fraud, wantonness,

oppression, or the entire want of care, which would raise the presumption of
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conscious indifference to consequence. Therefore, Plaintiff is entitled to punitive

damages.

                                        30.

      HSI, by and through its agents and employees, acted with specific intent to

cause harm to Plaintiff. Therefore, the amount of punitive damages is to be

determined by the enlightened conscience of the jury.

      WHEREFORE, Plaintiff respectfully request the following relief:

      (a)   That the Court declare that Defendant’s actions, policies, and

practices complained of herein violated Plaintiff’s rights under Title IX of the

Education Amendments of 1972;

      (b)   That Defendant be permanently enjoined from violating the rights of

Plaintiff and others under Title IX of the Education Amendments of 1972;

      (c)   That special damages be awarded to compensate Plaintiffs for

economic injuries as a consequence of Defendant’s violations of their rights in an

amount to be determined by the enlightened conscience of the jury;

      (d)   That compensatory damages be awarded against Defendant to

compensate Plaintiffs for their pain and suffering, mental and emotional distress,

anxiety, humiliation, outrage, and loss of professional and personal reputation as


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a consequence of Defendant’s actions in an amount to be determined by the

enlightened conscience of the jury;

      (e)    That punitive damages be awarded against Defendant in an amount

to be determined by the enlightened conscience of the jury to deter Defendant and

others from similar misconduct in the future;

      (f)    That a trial by jury be had on all issues wherein a jury trial is permitted

under law;

      (g)    That attorneys’ fees and expenses of litigation be awarded;

      (h)    That prejudgment and post-judgment interest be awarded; and,

      (i)    That the Court award such other equitable or monetary relief as

deemed just and proper.

      Respectfully submitted, this July 14, 2016.


                                        /s/ Marcus G. Keegan
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